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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEW JERSEY


  AMERICAN REGENT, INC.,

                         Plaintiff,

                         v.                          Civil Action No. 2:24-cv-7791 (BRM) (CLW)

                                                      APPLICATION FOR ADMISSION PRO
  ACCORD HEALTHCARE INC.,                               HAC VICE OF UMA N. EVERETT,
                                                       ADAM C. LAROCK, CHRISTINA E.
                         Defendant.                   DASHE, ALEXANDER ALFANO AND
                                                              RYAN E. CONKIN




         PLEASE TAKE NOTICE that Gibbons P.C., attorneys for Plaintiff American Regent,

  Inc. (“ARI”), submits this Application for an Order admitting Uma N. Everett, Adam C. LaRock,

  Christina E. Dashe, Alexander Alfano, and Ryan E. Conkin of Sterne, Kessler, Goldstein & Fox

  P.L.L.C. as counsel pro hac vice in the above-captioned matter.




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         PLEASE TAKE FURHTER NOTICE that in support of this Application ARI shall

  rely upon the supporting Declarations of Charles H. Chevalier, Uma N. Everett, Adam C.

  LaRock, Christina E. Dashe, Alexander Alfano, and Ryan E. Conkin submitted herewith.

         PLEASE TAKE FURTHER NOTICE that Defendant consents to this Application.

         PLEASE TAKE FURTHER NOTICE that a proposed form of Order is also submitted

  herewith.


   Dated: September 5, 2024                  By:    s/ Charles H. Chevalier
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